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 1                                       UNITED STATES DISTRICT COURT

 2                            WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 3     ________________________________________________________________
                                         )
 4      NANNETTE BASA, an individual,    ) C21-00754-MLP
                                         )
 5                       Plaintiff,      ) SEATTLE, WASHINGTON
                                         )
 6      v.                               ) October 18, 2022 -
                                         ) 1:00 p.m.
 7      BRAND SHARED SERVICES, LLC, a    )
        Delaware corporation,            )
 8                                       ) ORAL ARGUMENT via
                         Defendant.      ) Zoom Platform
 9                                       )
       ________________________________________________________________
10
                         VERBATIM REPORT OF PROCEEDINGS
11                 BEFORE THE HONORABLE MICHELLE L. PETERSON
                 UNITED STATES DISTRICT COURT MAGISTRATE JUDGE
12     ________________________________________________________________

13

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 1                      THE CLERK:           Good afternoon, Your Honor.

 2             The United States District Court for the Western District of

 3     Washington is now in session, the Honorable Michelle L. Peterson

 4     presiding.

 5             Your Honor, the matter before the Court this afternoon is

 6     oral argument in Case 21-CV-754, assigned to Your Honor, Nannette

 7     Basa versus Brand Shared Services, LLC.

 8             Counsel, please make your appearances, beginning with

 9     plaintiff.

10                      MR. HIGGINS:             Good afternoon, Your Honor.                        Alex Higgins

11     for the plaintiff, Nannette Basa.

12                      MS. MCFARLAND:              And good afternoon, Your Honor.                            Helen

13     McFarland here for the defendant, Brand.

14                      THE COURT:           Good afternoon, Mr. Higgins and

15     Ms. McFarland.

16             We, as I think Mr. Farrell just said, are here on two

17     motions.          The first one is a motion to compel, which is found at

18     Docket No. 32, that was filed by the plaintiff in this case.                                                   I

19     have reviewed the motion, as well as the opposition at Docket

20     No. 37, the reply at Docket 44, and the supporting documents

21     filed with that.

22             We're also here on a motion for sanctions for spoliation.

23     That was also filed by the plaintiff at Docket No. 30.                                              I have

24     reviewed that.               I have also reviewed the opposition at Docket

25     No. 39 and the reply at Docket No. 46, as well as the supporting




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 1     documents filed in support or opposition of that motion.

 2             All right.           I think what makes sense, I'm going to start with

 3     what I think is the easier of the two motions, and that's the

 4     motion with respect to the privileged-document motion to compel.

 5     I have reviewed, as I said, everything, and, frankly, I have

 6     questions for defense counsel.

 7             I don't have many questions for you, Mr. Higgins, but I will

 8     give you -- I'm going to let Ms. McFarland respond to your reply

 9     brief first, and then I, of course, will give you the last word.

10             Ms. McFarland, I have reviewed it.                              It seems to me that

11     Mr. Higgins at this point has somewhat conceded that you have

12     provided sufficient information with respect to that worksheet to

13     determine whether or not it is privileged.                                     One thing that I

14     could not tell from the pleadings is whether or not this was a

15     document that was prepared for the attorney and then not shared

16     outside of that communication with the attorney.                                          Is that what

17     you're representing to the Court?

18                      MS. MCFARLAND:              Yes, that's my understanding, is that

19     this was prepared for the attorney and for legal advice.

20                      THE COURT:           And not shared outside of that communication

21     with the attorney?

22                      MS. MCFARLAND:              Yes, that's right.

23                      THE COURT:           Okay.

24             Mr. Higgins, that appears to have been a document that was

25     created for communication with an attorney, it wasn't shared




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 1     outside the need-to-know group at the company, and it appears

 2     that there's sufficient information to find that is, in fact,

 3     privileged.             But I did say I would give you the last word,

 4     Mr. Higgins.

 5                      MR. HIGGINS:             Yes.

 6             I believe the testimony is -- and I'm looking for it

 7     exactly -- that it was provided to share with -- Michelle Roman

 8     created it, who's a senior vice president of HR, and she provided

 9     it to share with her boss, Meg Newman, for her approval, and then

10     the document was also shared with the legal department.                                               I'm not

11     finding that exact testimony right now.

12             But our position is that it has a dual purpose at least.                                               It

13     has a business purpose, as indicated from the term "Corporate RIF

14     Worksheet."             Not legal, not legal worksheet, not, you know,

15     lawyer, you know, attorney's eyes only, lawyer.                                         And there's no

16     communications along with that work where she's saying, "Please

17     do a legal review" or anything like that, and no correspondence

18     back from the lawyer saying, "Here is my legal analysis."                                                 So

19     we're just very suspicious about the claim and that it was just

20     sort of routed through an attorney in order to claim privilege,

21     not that it was created solely for legal review.

22             I guess I would ask, since I'm having trouble finding the

23     citation, where is the citation that the defendant is relying on

24     that it was purely for legal purposes.

25             It seems from the deposition testimony of Michelle Roman that




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 1     she got approval from her boss -- gosh, I wish I could put my

 2     finger on that, I apologize.                          I guess it's from her deposition

 3     testimony, which we attached, where she says she got approval

 4     from her boss regarding the layoffs, when submitting the names,

 5     and then submitted it to legal.                            So it's a little vague, I grant

 6     you that.           I think the deposition testimony is a little vague.

 7             But was there a declaration provided by Ms. Roman that it was

 8     purely for legal purposes?                        I may have missed that.

 9                      MS. MCFARLAND:              No, we did not provide a declaration

10     from Ms. Roman.                But I will represent to you that it was

11     presented by Ms. Roman to legal counsel for advice on the layoff.

12     Ms. Roman no longer works for the company.                                     If we need to get a

13     declaration from her, Your Honor, I mean, I suppose we could do

14     that, or we could -- I mean, the lawyer actually no longer works

15     for the company either.                      So it would be a little bit difficult to

16     try to do that.                But I can represent to you that that was the

17     purpose of this communication.

18                      THE COURT:           And, frankly, the Court will take your

19     representations with respect to that.

20             I just have a clarification.                         Was it a document that

21     Michelle Newman -- is it Newman?                             No.

22                      MS. MCFARLAND:              Michelle Roman.

23                      THE COURT:           Roman.        Michelle Roman created the document,

24     sent it to the attorney, the attorney gives advice, and then the

25     document is sent to Meg Newman for approval?




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 1                      MS. MCFARLAND:              No, no.         She prepared a document to

 2     speak with legal counsel and then used it to speak and

 3     communicate with legal counsel.

 4                      THE COURT:           Okay.       But there was a discussion

 5     about somehow Meg Newman came into this?

 6                      MS. MCFARLAND:              Yes.       At some point, Meg Newman, who was

 7     the head of the human resources department, knew who was going to

 8     be selected for layoff.                      So, you know, I don't know exactly what

 9     Mr. Higgins is referencing.                         It sounds like he was talking about

10     a specific portion of Ms. Roman's deposition, but I don't believe

11     that that was -- she did not testify, as far as I recall, that

12     she shared that document with Meg Newman.                                    She reported that she

13     eventually obtained approval for the layoffs in her department

14     from Meg Newman.

15                      MR. HIGGINS:             I think that's fair.                   But I think it

16     underscores the problem with not having an appropriate privilege

17     log as of September 7 when I took Michelle Roman's deposition.                                                     I

18     didn't know this document existed.                               I didn't know to ask her what

19     was the purpose of this document.                              "Did you ever share it with

20     anyone other than Ms. Newman?"                           So it's very easy to say now

21     that's what it is.                  But I don't think that counsel can represent

22     for Michelle Roman what she did, given the fact that she doesn't

23     have access to Ms. Roman as she's no longer -- she says she's no

24     longer with the company.

25             I think it would be appropriate for a very brief reopening of




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 1     Ms. Roman's deposition so we can find out those questions that we

 2     should have been able to find out the first time we took her

 3     deposition.             We took about a 90-minute deposition, so it wasn't

 4     like we were beating every horse in the room.

 5                      THE COURT:           All right.           I agree.          I will order the

 6     reopening of Michelle Roman's deposition for no longer than -- I

 7     mean, 60 minutes should be plenty of time.

 8                      MR. HIGGINS:             Yes, Your Honor.

 9                      MS. MCFARLAND:              And --

10                      MR. HIGGINS:             More than enough, yeah.

11                      THE COURT:           Okay.       As to the sole issue with respect to

12     the privilege surrounding the worksheet, and the reason that I do

13     agree with Mr. Higgins is this is a worksheet that appears to go

14     through the bases for identifying/selecting employees for

15     reduction in force, as well as why those employees were selected,

16     so I do think it's an important document, and because Mr. Higgins

17     says that he didn't have the privilege log at the time that he

18     was deposing Ms. Roman or sufficient information from the

19     privilege log, he was unable to ask questions about that.

20             Okay.       Ms. McFarland, you wanted to interject?

21                      MS. MCFARLAND:              Thank you, Your Honor.

22             I just wanted to note that we have five more depositions

23     between now and next week, and I actually don't think we have

24     time.        And I don't have -- I mean, I don't know for sure whether

25     Michelle Roman -- she doesn't work for the company anymore --




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 1     whether I will be able to squeeze her in in between now and, you

 2     know, Friday of next week.

 3             But we also do have Meg Newman's deposition coming up on the

 4     27th.        So if we could, Your Honor, I would ask that you revisit

 5     that issue because rather than bring in a new person, we already

 6     have Meg Roman {sic} to testify, and she can address whether she

 7     saw this exhibit or not.

 8                      THE COURT:           Yeah.       But we want to know -- I mean,

 9     Michelle Roman is the one that created the document and met with

10     counsel, and I think Mr. Higgins is entitled to explore whether

11     or not, you know, it was actually a privileged communication and

12     a privileged document.                     So I understand what you're saying.

13             I will, for the purposes of Ms. Roman's deposition only, I

14     will allow the deposition to be outside the close of discovery,

15     but it needs to be within like a week or ten days of the close of

16     discovery.

17                      MS. MCFARLAND:              Okay.        I will do my best.                 I will reach

18     out to her and see if I can get her cooperation.

19                      THE COURT:           Okay.       And if not, Mr. Higgins is going to

20     have to subpoena her, as I understand.

21                      MS. MCFARLAND:              Okay.

22             Your Honor, one other point -- and maybe this is a good time

23     to address it -- we were hoping, and I raised this issue with

24     Mr. Higgins before, but my associate, who is on this call, Emma

25     Kazaryan, has been involved in this case from the outset, and




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 1     she's actually due to have her first baby at the end of this

 2     month, and so we were hoping to get a trial continuance so that

 3     she could be available to try this case in the event that we're

 4     not able to resolve it on summary judgment.                                      Mr. Higgins said he

 5     was not able to give me a response on whether they would

 6     stipulate to that or not.                        But without moving the other

 7     deadlines, we were hoping we could move the January 30th trial

 8     date.

 9                      THE COURT:           I would prefer you submit that in writing

10     and set forth a good cause for the trial continuance.

11                      MS. MCFARLAND:              Okay.

12                      THE COURT:           There hasn't been a trial continuance; is

13     that right?

14                      MS. MCFARLAND:              I think plaintiff requested one at one

15     point, which we stipulated to.                           So this would be the first

16     request from defense.

17                      THE COURT:           Okay.       Well, confer with Mr. Higgins, and

18     hopefully you can work with Mr. Farrell on a new trial date, if

19     you submit the motion.                     And in your motion, obviously, you want

20     to propose a new trial date.

21                      MS. MCFARLAND:              Thank you.

22                      THE COURT:           Okay.       So with respect to the motion to

23     compel, I will grant it to the extent that I am allowing

24     Mr. Higgins to further explore the circumstances surrounding the

25     RIF worksheet that Ms. Roman prepared by taking Ms. Roman's




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 1      deposition outside the close of discovery for no longer than

 2      60 minutes.             And I appreciate that Ms. McFarland will work with

 3      Ms. Roman to schedule that, to the extent Ms. Roman is amenable

 4      to that.

 5              All right.           Now, let's talk about Docket No. 30, which is the

 6      motion for sanctions for spoliation of evidence.                                          All right.           I

 7      have reviewed that, as I said, and I'm going to do the same

 8      thing, Mr. Higgins.                   I'm going to start with Ms. McFarland,

 9      because I have quite a bit more questions for her than I do for

10      you at this time, and then I will give you the last word.

11              Ms. McFarland, one thing that was noticeably absent from your

12      opposition was any discussion of the Teams messaging system, and

13      it seems that -- I believe it was Ms. Roman that testified that

14      she communicated frequently using the Teams messaging system.

15                       MS. MCFARLAND:              So we -- Your Honor, thank you.                            We have

16      produced the Teams -- we exhaustively searched the Teams

17      documents, and there weren't many because they're just --

18      Michelle Roman was not a supervisor and she wasn't really

19      involved with Ms. Basa until the layoff.                                   So we did produce, you

20      know, all of the Teams messages that we were able to find, and

21      there were, you know, only maybe two, I believe.                                          And so

22      that's -- that's -- and we have searched for all of those Teams

23      messages, and there really aren't any.                                  So I apologize for not

24      addressing that more thoroughly in the briefing.

25                       THE COURT:           Okay.       Is there any information in the




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 1      record?         Does Mr. Higgins have information as to how that search

 2      was conducted and what search terms were used?

 3                       MS. MCFARLAND:              Mr. Higgins and Mr. -- and Mr. -- I'm

 4      blanking on Cody's last name.                           Both plaintiff's counsel and our

 5      side have been very extensively involved in search terms

 6      throughout the course of this litigation.                                    And, yes, I believe --

 7      and I believe that either Emma or Cody could jump in on this --

 8      we have been back and forth on lots of search terms, and I

 9      believe all of those were approved by both sides and that all of

10      those searches were conducted.

11                       THE COURT:           And for clarification, did your litigation

12      hold letter discuss preserving Teams Messenger messages?

13                       MS. MCFARLAND:              Yes.

14                       THE COURT:           So the custodians would have been on notice

15      that they needed to preserve those?

16                       MS. MCFARLAND:              Yes.

17              And, Your Honor, we also have another deposition, I think,

18      scheduled to address this next week.

19                       THE COURT:           All right.           So the next question that I

20      have -- and, Ms. McFarland, stop me if this is in the record, but

21      I didn't see it -- is after becoming aware of the potential

22      lawsuit in January of 2021 and prior to Mr. Broschinsky --

23                       MS. MCFARLAND:              That's correct.

24                       THE COURT:           -- Broschinsky's departure, what steps did

25      Brand take to preserve the information that he had with respect




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 1      to this lawsuit?

 2                       MS. MCFARLAND:              So Mr. Broschinsky, we lost -- and I

 3      admit this, and I think it is in our documentation.                                            I mean,

 4      Mr. Broschinsky left the company, and when he turned in his cell

 5      phone, it was submitted to, I don't know exactly what -- some

 6      third-party vendor that wipes it clean, and so we don't have his

 7      text messages.               You know, I think whatever they do with cell

 8      phone messages -- whatever they do with cell phones when they

 9      turn them back in, it's not something that the company keeps

10      anymore.

11                       THE COURT:           What I was asking -- I will get to that --

12      but I think let's take it in steps.                               The first step is what did

13      the company do to put Mr. Broschinsky on notice that he has to

14      preserve information related to this lawsuit?

15                       MS. MCFARLAND:              Well, we contacted him and informed him

16      about the litigation and spoke with him and asked him to

17      preserve.

18                       THE COURT:           When was that?

19                       MS. MCFARLAND:              So I don't know the exact date, but I

20      think it was shortly after the lawsuit was filed.

21                       THE COURT:           So not in January of 2021?

22                       MS. MCFARLAND:              I don't believe it was in January of

23      2021, but I can't confirm that.

24                       THE COURT:           All right.           And remind me when the lawsuit

25      was filed.




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 1                       MS. MCFARLAND:              It was filed in July of 2021.

 2                       THE COURT:           And he left in October.

 3              And the notification to Mr. Broschinsky, the preservation

 4      notification, you're saying it was verbal; it wasn't in writing?

 5                       MS. MCFARLAND:              I don't have all of those details

 6      because the in-house counsel for Brand is no longer with us.                                                   But

 7      I believe it was verbal.

 8                       THE COURT:           And have you made any attempts to confirm

 9      whether or not or what he was told about preservation of

10      evidence?

11                       MS. MCFARLAND:              Yes.       And we had spoken with him.                         So I

12      don't have -- I have not been able to speak with the prior

13      counsel, who's no longer with the company.

14                       THE COURT:           And then when Mr. Broschinsky left the

15      company, there was no effort made to obtain information from his

16      devices or his files that relate to this communication, or was

17      there an effort made to obtain information?

18                       MS. MCFARLAND:              Well, we have all of his e-mails, we

19      have all of his Teams messages.                            You know, those were all backed

20      up as a matter of course.                        The documents that are missing were

21      from his cell phone, the text messages, and he kept a hard copy

22      paper file in Georgia.                     It was his supervisor file.

23              I know that in the reply Mr. Higgins and plaintiff made

24      reference to a performance evaluation.                                  There was no separate

25      performance evaluation that was not contained within Ms. Basa's




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 1      original personnel file.

 2                       THE COURT:           How would you know that?                      How would you know

 3      that if you don't have the paper file?

 4                       MS. MCFARLAND:              Well, because he -- any personnel -- he

 5      was her supervisor for one year, and he prepared and submitted a

 6      performance evaluation, which is part of her file.

 7                       THE COURT:           Okay.

 8                       MS. MCFARLAND:              And we have produced that.                        That has

 9      been produced.

10              So he testified that he kept some notes in a hard copy file

11      that was in Georgia.                    He left the company, and because of COVID,

12      you know, his file was somewhere in a storeroom or something in

13      Georgia, and we have been -- we've had exhaustive searches

14      looking for this file.                     It was a banker's box or something in

15      which he kept manager files, not just on Ms. Basa, but anyone

16      that he was supervising, and that whole box is missing.

17                       THE COURT:           I guess what I'm struggling with is you

18      receive the lawsuit, or in-house counsel receives the lawsuit.

19      Mr. Broschinsky is a potential witness in the lawsuit.                                              This is

20      July of 2021.              Mr. Broschinsky is still an employee of the

21      company.          And at that time there's no effort to get the personnel

22      file that Mr. Broschinsky kept on Ms. Basa?

23                       MS. MCFARLAND:              We fell short there on getting it.

24                       THE COURT:           Okay.       And as far as you know, was there any

25      discussion or attempt to get the text messages from his cell




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 1      phone that was wiped?

 2                       MS. MCFARLAND:              Not before it was wiped.

 3                       THE COURT:           Well, it would have to be before, unless

 4      they didn't do a very good job of wiping it.

 5                       MS. MCFARLAND:              So, no.         No.

 6                       THE COURT:           All right.           And you can tell me -- I don't

 7      think this is privileged -- but were you involved in the

 8      litigation hold or your firm involved, or is this something that

 9      was handled completely in-house?

10                       MS. MCFARLAND:              It was completely in-house.

11                       THE COURT:           Okay.       And then when did your law firm --

12      has your law firm been involved in the preservation or notifying

13      employees of their preservation obligations?

14                       MS. MCFARLAND:              Yes.

15                       THE COURT:           Okay.       When did your -- and I think it's in

16      there -- but when did your preservation letter go out?

17                       MS. MCFARLAND:              I don't have -- I don't have it in front

18      of me.         But shortly after we -- shortly after we represented --

19      you know, appeared or took on representation of this case, which

20      was after --

21                       THE COURT:           Okay.       So sometime you think maybe in August

22      of 2021?

23                       MS. MCFARLAND:              Yes.       Yes.

24                       THE COURT:           And so would your letter, your preservation

25      letter, have gone to Mr. Broschinsky?                                 It should have, right?




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 1                       MS. MCFARLAND:              I think so.            Yes, it should have.

 2                       THE COURT:           What I'm struggling with, Ms. McFarland, is

 3      we're here on a motion to sanction your client for spoliation of

 4      evidence, and you don't have a good grasp of the facts that

 5      surround the allegations contained in the motion.                                          And so I don't

 6      want to unduly prejudice you.                           I mean, you should have prepared,

 7      frankly.          But I have concerns about how the preservation process

 8      happened in this case and why, you know, from January of 2021

 9      until after Mr. Broschinsky leaves in October of 2021, nobody

10      reached out to him and collected information relating to

11      Ms. Basa, who has, like, clearly filed a lawsuit against the

12      company.          And so, you know, there's merit to Mr. Higgins' motion

13      in this regard with respect to, you know, whether or not there's

14      been spoliation of evidence.                          I'm not satisfied with your answers

15      to my questions with respect to why these simple tasks were not

16      undertaken to collect relevant information.                                      But I'm going to

17      hear from Mr. Higgins.

18              And I believe that all the other text messages have been

19      resolved and we're really just dealing with Mr. Broschinsky, is

20      that right, Ms. McFarland, as far as you know?

21                       MS. MCFARLAND:              As far as I know, there were no other --

22      I know that Karen Riapos and Michelle Roman don't have any text

23      messages with plaintiff.

24                       THE COURT:           Or about plaintiff?

25                       MS. MCFARLAND:              Or about plaintiff, correct.




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 1                       THE COURT:           All right.           Mr. Higgins, I will give you an

 2      opportunity to present your positions.

 3                       MR. HIGGINS:             Well, I don't agree that it's been

 4      resolved, that nobody else had any text messages about the

 5      plaintiff.            In fact, I find that hard to believe, that Karen

 6      Riapos never texted anybody about plaintiff during the year she

 7      was her manager.                And I think what happened is the same thing

 8      what happened to Mr. Broschinsky's phone.                                    Nobody ever texted

 9      him -- nobody ever searched it, and that was the troubling thing.

10              We know that Nannette fastidiously preserved her text

11      messages because we told her to, whether they were good or bad.

12      And when we turned them over, she had some text messages with Rod

13      Broschinsky.             We weren't getting those from the defendant.                                       We

14      kept asking, "Where are the test messages that are responsive?"

15      "We have given you everything" was the answer; there's nothing

16      more.        We knew there was a problem with that, so we kept asking

17      about it.

18              We asked Karen Riapos, "Did anybody look at your phone?                                              Did

19      you search your phone?"                      She says, "No."               I asked her three or

20      four different ways.                    "Did you give your phone to somebody to

21      search?"          "No."        "So you never searched your phone for anything

22      to do with Nannette Basa?"                        "No, I didn't."                I mean, her answers

23      were crystal clear in that deposition.

24              And from that day forward, we have been asking Brand, from

25      June 3rd, where are these text messages that probably exist that




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 1      are responsive to the discovery in this case:                                       your layoff

 2      process, your layoff selection, the plaintiff's performance

 3      issues that you claim were one of the reasons for her layoff.

 4      Absolutely nothing.                   And we think the reason is, nobody ever

 5      searched for them and they were lost.                                 And we have evidence of

 6      that from Rod Broschinsky and we have evidence of that from the

 7      Teams messages and we have evidence of that from the supervisory

 8      file that wasn't maintained.                          I think "Where there's smoke,

 9      there's fire" is a very apt analogy here.                                    So we don't agree that

10      everything else is fine.                       We think there are a lot of missing

11      text messages.

12              Now, on the Microsoft Teams issue, they don't respond to it

13      directly, but there's an indirect admission in Ms. Riapos's new

14      declaration, where she says:                          I didn't have text messages because

15      I really didn't use text messages that much; I used Microsoft

16      Teams and e-mails.                  Okay.        Well, where are your Teams messages?

17      We don't have anything from her.                             We have a couple from Michelle

18      Roman, but that's it, two.

19              Ms. Riapos put in e-mails things that are helpful to

20      plaintiff's case.                 We attached as Exhibit 13 to my declaration

21      communications about the plaintiff with her boss, Meg Newman.

22      Meg Newman wants to know:                        What's the future for the plaintiff?

23      She is asking me, and I really don't know Ms. Basa very well.

24      This is two months before the layoff.                                 It goes to Karen Riapos

25      who e-mails back and says:                        Well, I have these plans for her to




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 1      do this, that, and the other thing; I have these ideas for her.

 2      Not a whisper about performance issues.                                   That is very telling

 3      evidence that we need to use at trial to show that these

 4      performance issues were made up after the fact.                                         That's not the

 5      reason at all she was selected for layoff.                                     And I think we would

 6      find a lot more if we had the text messages, if we had the Teams

 7      messages, but they were just not preserved.

 8              So the answer to the question, I think Ms. McFarland was

 9      truthfully telling you that they have been searching.                                              I don't

10      doubt that at all.                  The problem is they didn't preserve them,

11      they didn't assure preservation -- somebody didn't, Brand -- and

12      so when they did get around to searching for them, they were

13      gone.

14              So what has not been communicated to the Court is when did

15      they preserve these things and who did they tell to preserve and

16      how did they tell them to preserve.                               That's completely gone.

17              And Ms. Riapos's claim in her declaration that, "Oh, I now

18      remember I did search my phone."                             She conveniently leaves out

19      when.        Was it two days before her deposition?                                 Was it two days

20      after?         That's June of 2022.                   That's a year and a half after you

21      get notice of dispute.

22              So there are many, many, many questions raised by this

23      spoliation that go far and wide in this case with regard to Rod

24      Broschinksy's supervisory file and on.

25              Now, I want to mention that supervisory file because I think




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 1      there's a misunderstanding here.                             Mr. Broschinsky has a

 2      performance appraisal that he drafted that I don't think was ever

 3      submitted into the system, and it's because he was no longer her

 4      manager; it didn't really matter to him.                                   He was only her manager

 5      for, I think, until August -- I can't remember the year -- but it

 6      was a partial year, and then Karen Riapos comes in and takes

 7      over.        And so she wanted him to do the review, but it just fell

 8      through the cracks.                   We think that's the review from 2019 that's

 9      in that supervisory file.                        So that appraisal has never been

10      produced.           And that's the point we were trying to make --

11                       THE COURT:           Oh, I see.

12                       MR. HIGGINS:             -- in our briefing.

13              I have a couple other notes from some of the comments.

14              The litigation hold letter about Teams messages, I don't know

15      if that's true or not.                     I mean, it may have been.                       But, again, if

16      it was done in August or September of 2021, that would be long

17      after people might have deleted those things.                                       I mean, I don't

18      know much about how things are stored.                                  We have a 30(b)(6)

19      deposition next week.                    Maybe I will become better educated, but

20      I'm afraid I'm going to get tech speak and it's going to go over

21      my head, but I'll try.

22              All right.           I think these verbal notices of hold are frankly

23      just -- I have never heard of them before, but I don't think they

24      should be given a lot of weight, especially since the person who

25      gave them may no longer be with the company, as I understand it,




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 1      and has not submitted a declaration.

 2              When Mr. Broschinsky left, there was no effort to obtain his

 3      files.

 4              I talked about the performance appraisal.                                   I apologize.

 5              Oh, the text messages that were wiped.                                 We believe others as

 6      well.

 7              I think I covered what I wanted to cover from what was stated

 8      by Ms. McFarland, but I'm happy to answer other questions the

 9      Court may have about this issue.

10                       THE COURT:           Well, let me ask you this.                        I mean, it seems

11      that we have some evidentiary issues that need to be resolved.

12      Frankly, I was surprised that they weren't included as part of

13      the opposition to your motion for sanctions.                                       And, you know,

14      there should have been a declaration in there that says here were

15      all the steps that were taken to preserve the information, the

16      supervisory file, the text messages; here were the steps that

17      were taken to search the existing employees' text messages or

18      cell phones or, you know -- I guess they're all existing

19      employees.            I can't recall.               No.      Ms. Roman is not.                 In any

20      event, there's, like, no declaration as to here were the steps

21      that we took to preserve evidence so this spoliation motion

22      should be denied.                 And so, you know, I'm struggling with do I

23      give Brand another opportunity to come forth with evidence or,

24      you know, something that the Court can use to find that they, you

25      know, met their obligations to preserve evidence, or do I rule on




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 1      the record that's before me.                          And that's what I'm struggling with

 2      right now.

 3              But, Ms. McFarland, I'm going to give you the last word on

 4      this before I make my decision.                            Go ahead.

 5                       MS. MCFARLAND:              Thank you, Your Honor.

 6              And I just -- you know, I feel like I didn't really get a

 7      chance to make our argument on this.

 8                       THE COURT:           Okay.       Go ahead.

 9                       MS. MCFARLAND:              Yeah.        I know that I was answering some

10      questions that were pretty pointed.

11              But I do feel like Karen Riapos did clear -- I mean, I think

12      it's very clear that she says she didn't communicate by text

13      message.          She submitted a declaration that said that.                                      I think

14      it's notable that Nannette Basa did not have a single text

15      message with Karen Riapos or Michelle Roman or these other people

16      that they're identifying.                        If there were text messages, you would

17      think that she would have mentioned that "I know I texted them."

18      She didn't submit a declaration saying there were text messages.

19      So I feel like the record is clear that what we're talking about

20      is Mr. Broschinsky's text messages, and those documents have been

21      produced by plaintiff.

22                       THE COURT:           I'm going to stop you there because I think

23      you are missing the point or the evidentiary issues that I'm

24      having, and that's with respect to the preservation.                                             Not the

25      issue of whether or not they actually have text messages, but




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 1      what steps were taken by the company to look to see if they have

 2      any of these text messages, like, you know, taking their phone

 3      and doing the search or something along those lines.

 4              So before we get off the topic of text messages, if you could

 5      just address that.

 6                       MS. MCFARLAND:              Sure.        And I apologize if I -- I did

 7      want to make that point because I think it's important.

 8              With regard to preservation issues, like I said, I think that

 9      we had some errors in our -- you know, in the process, and I

10      admit that and we acknowledge that.                               But I want to get back to,

11      again, what the rule is, FRCP 37(e), which clearly says that if

12      documents are missing and they cannot be restored or replaced

13      through additional discovery, the Court still needs to find

14      prejudice to the other side from the loss of that information.

15      And the missing documents with regard to Mr. Broschinsky were

16      with a supervisor that supervised her over a year before she was

17      laid off, and he wasn't even involved in the decision to lay her

18      off.       So I do feel -- and I admit that we've made some mistakes,

19      and there's mistakes for sure, and there's nothing I can do about

20      that.        I wish that was not the case.                          But I still think that

21      there was no prejudice to Ms. Basa as a result of that because he

22      was not involved in the decision to terminate her.                                           So even --

23      you know, nor was his, perhaps, a draft of his performance

24      evaluation of her.                  That was not a consideration in the factors

25      about why she was selected to be laid off.




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 1                       THE COURT:           Can I ask you a question then?                            You know, as

 2      I understand it, one of the bases for selecting her for the

 3      reduction in force was because she was having performance issues,

 4      and if, in 2019, with Mr. Broschinsky, if he has a performance

 5      review of her that's glowing, that does seem to be relevant as to

 6      whether or not the company's bases for selecting her is

 7      pretextual.

 8                       MS. MCFARLAND:              True.

 9              So Ms. Riapos and Ms. Roman testified that the reason she was

10      selected was primarily because we have a layoff.                                          This is the

11      fourth quarter of 2020.                      You know, everything was falling apart,

12      and because of COVID, all of their facilities were shut down.

13      There were serious financial issues.                                They made the decision to

14      lay off over 100 people around this same time period because of

15      the reorganization that was necessary as a result of COVID and

16      the downturn in the economy.                          So that was the primary reason she

17      was laid off.

18              The secondary reason was that the job that she was working

19      on, which was organizing temporary labor, was no longer going to

20      be necessary.              That's undisputed.                  That was her reason.

21              Ms. Karen Riapos testified then also, as another factor --

22      and this was sort of thrown in, but it was true -- she had heard

23      that Ms. Basa was -- you know, there were complaints.                                              She had

24      received complaints about Ms. Basa's recruiting.                                          And

25      that's evidenced in documents that we have produced.                                             She




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 1      testified about it.                   Mr. Higgins is taking the depositions of

 2      every single person who was mentioned as having complaints about

 3      Ms. Basa and her performance.                           Those performance issues were

 4      related to her attitude, her lack of responsiveness, you know.

 5      And this was in Ms. Riapos's decision-making.                                       She was not

 6      relying upon what Ms. Basa did with Rod Broschinsky over a year

 7      before this.             This is her own personal experience and what she

 8      had received as commentary from people about Ms. Basa's

 9      performance.

10              So it's not overall general performance.                                   Her performance

11      evaluations are not bad.                       I mean, there's nothing in them that

12      says she was underperforming or that that was the reason she was

13      laid off.           It was one of the things that Karen mentioned as

14      another factor in why she thought it was a good decision to

15      select Ms. Basa for this layoff.

16              So I do, again, think that Mr. Broschinsky's file, while,

17      admittedly, should have been preserved and we should have it,

18      it's still not prejudicial to plaintiff as far as any of the

19      issues in this case.

20                       THE COURT:           All right.           I didn't want to -- were you

21      done with your presentation?

22                       MS. MCFARLAND:              Yes, Your Honor.                I mean, I think

23      that's it.            I mean, Ms. Basa, even in her motion, in the moving

24      papers, on page 8, she says she doesn't have prejudice.                                               She

25      said, "Because the electronic communications sought here no




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 1      longer exist, the extent of prejudice to plaintiff is difficult

 2      to know."           So she's assuming that there might be some documents

 3      in the text messages or in the file that would be helpful to her,

 4      and she's assuming there's prejudice, but she doesn't have any

 5      prejudice because he really wasn't related -- you know, he wasn't

 6      involved in this decision.

 7                       THE COURT:           Okay.

 8                       MS. MCFARLAND:              It would be another matter altogether if

 9      he had said -- you know, if he had weighed in on this decision,

10      if Mr. Broschinsky said, "I think that Nannette Basa should be

11      terminated or laid off because of her performance issues for me."

12      You know, that's a whole different kettle of fish.                                           That's, you

13      know, very clearly relevant, his opinion of her and his notes,

14      his contemporaneous notes that he might have taken about his

15      evaluation of her.                  But a year before she's selected, you know,

16      by people who are not him, it's a different -- you know, it's not

17      really relevant.                And so I'd submit that while it's regrettable,

18      it would not -- it's not relevant and it's not prejudicial to

19      plaintiff.

20                       THE COURT:           Would it -- I mean, Mr. Broschinsky's files,

21      I think that's a done deal, unless somebody finds the file in

22      Georgia, but it sounds like the text messages are not going to be

23      found.

24              With respect to the Teams messages and the text messages,

25      would it be too difficult to have somebody submit a declaration




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 1      that says when and how they conducted the search for the text

 2      messages on cell phones?

 3                       MS. MCFARLAND:              I don't think so.                 We could do a

 4      declaration.

 5                       THE COURT:           Mr. Higgins, I mean, Ms. McFarland does

 6      raise a good point about prejudice and, you know, how do I find

 7      prejudice.            I really don't have anything in the record other

 8      than, you know, there might be something there.

 9                       MR. HIGGINS:             Well, you have Mr. Broschinsky's own

10      testimony that the performance evaluation was good and now we

11      don't have it.               So we don't know how good it was.                             I can't quote

12      from it.          I can't enlarge it and show it to the jury and say,

13      "How can this person who was doing this now be this?"                                              I also

14      can't argue that these performance issues, like the one that

15      supposedly was raised by Rod Broschinsky to Karen Riapos about

16      strained communications with plaintiff, I can't now prove that

17      they were insignificant because they didn't even take notes and

18      put them in the file.                    Because he says, "Oh, I may have taken

19      notes.         I'm a pretty good note-taker."                           But they don't have the

20      file.        So now the jury goes "Okay."                         Now I can't show he didn't

21      take notes.

22              The same with all the text messages and the Teams messages

23      that may be similar to the e-mails that I have that are helpful

24      to the case.             The e-mails that I have that are similar are the

25      conversations where Karen Riapos talks about the future plans for




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 1      Nannette Basa, that she wasn't really a bad employee, she didn't

 2      have all these performance issues, that she was planning to do

 3      this with her or that with her.                            Just the kind of normal

 4      communications about plaintiff that probably existed.                                              I think

 5      it's easy to find, based on the review of the e-mails, that

 6      similar Teams messages/text messages probably existed.

 7              So it doesn't, of course -- and that's the quote from the

 8      brief, is that the "extent of the prejudice" cannot be known.                                                    I

 9      said that.            I stand by that.                That doesn't mean that there is no

10      prejudice.            That just means it's hard to quantify.

11              And so, you know, the remedy is typically to say to the jury:

12      You may find that the information would have been helpful to the

13      plaintiff.            You don't have to.                 It's not a mandatory.                     And they

14      can argue, no, there's nothing in there that would have been

15      helpful.          And it doesn't seem to me to be an onerous instruction

16      such as a mandatory "You must find" that it would have been

17      helpful to the plaintiff, or, even worse, striking defenses, like

18      you can't argue performance issues because you haven't given all

19      the information that might be -- that might undermine the

20      performance concerns.

21                       THE COURT:           When we're talking about those sanctions,

22      don't I have to find that there was culpability, like there was

23      an intent on the part of Brand?

24                       MR. HIGGINS:             Well, I have two answers to that.                             One is,

25      not according to Judges Coughenour, Robart, and Lasnik, all of




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 1      whom have written opinions after the adoption of 37(e), and they

 2      don't say anything about that.

 3              Judge Coughenour, in Musse, in 2021, says, "A litigant has a

 4      culpable state of mind for spoliation purposes if the evidence

 5      was destroyed knowingly, even without intent to breach a duty to

 6      preserve it, or negligently."                           I mean, it's stated about as

 7      squarely as you can.

 8              The second answer to that is, I found this morning -- I was

 9      thinking about that question and sort of anticipating it, and so

10      I did some research this morning and found that there are lots of

11      good cases that say that you can find intent from circumstantial

12      evidence.           You don't have to, you know, show some sort of:                                         We

13      wanted to get rid of these documents because they knew they were

14      helpful to the plaintiff.                        And, you know, if the Court wants to

15      get into that, I would suggest looking at a recent case from the

16      District of Arizona called Fast v. GoDaddy, and it's 340 F.R.D.

17      326.       At page 339, there's a collection of cases.

18              Did I go too fast?

19                       THE COURT:           No.      I got it.

20                       MR. HIGGINS:             Okay.

21              There's a collection of cases there about how circumstantial

22      evidence may be accorded equal weight with direct evidence, and

23      if you put enough together -- I mean, basically, what I don't

24      understand is if a litigant decides I'm not going to really do

25      anything to preserve evidence, isn't that intentional?                                              Isn't




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 1      that --

 2                       THE COURT:           Yeah.       You know, I was just -- you know,

 3      Apple v. Samsung, I know it's not out of this jurisdiction, but I

 4      thought the Court there had a good way of looking at it and

 5      referring to it as "conscious disregard."                                    So conscious disregard

 6      of your discovery obligations or preservation obligations could

 7      be found by failing to do as little as issue a litigation hold

 8      notice to any employees -- in that case, it was for eight months

 9      after its preservation duty arose -- and further delaying

10      issuance of a litigation hold notice to several key custodians.

11      And that act justified, although negligent, but was in conscious

12      disregard to the duty to preserve.

13              It's sort of the situation that we have here.                                      But I don't

14      want to make that finding based on the record that I have before

15      me.      And one question, Mr. Higgins.                           You said that you have a

16      deposition coming up.                    Is it a 30(b)(6) deposition on this issue?

17                       MR. HIGGINS:             Yes, Your Honor.

18                       THE COURT:           Okay.

19              And Ms. McFarland has already indicated that she can get

20      declarations from declarants stating when the cell phones were

21      searched for text messages, how they were searched, when the

22      Microsoft Teams -- I don't know if it's an account, that you

23      search by account or across the entire company -- but when they

24      were searched, how they were searched.

25              So how much time, Ms. McFarland, do you need to submit those




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 1      declarations?

 2                       MS. MCFARLAND:              Can I get two weeks?

 3                       THE COURT:           I think that's fine.

 4              And then, Mr. Higgins, when is your 30(b)(6) deposition on

 5      this topic?

 6                       MR. HIGGINS:             It's split up over a couple of days.                               So I

 7      don't remember.                It's either the 26 or the 27th.

 8                       THE COURT:           Okay.       So well within the two-week period?

 9                       MR. HIGGINS:             Right.

10                       THE COURT:           I --

11                       MR. HIGGINS:             Go ahead.

12                       THE COURT:           Let me try what I'm going to order and then,

13      Mr. Higgins, I will give you an opportunity to respond as well as

14      Ms. McFarland.

15              Two weeks from today, which would be -- I'll get the calendar

16      out -- is that the 1st?                      By November 1st, I would like each side

17      to submit a supplemental brief attaching any declarations or

18      evidence/transcripts in response to the motion for sanctions for

19      spoliation.             And that the briefs should be no more than seven

20      pages each.             And then after submitting the supplemental

21      information, I will rule on the underlying motion for sanctions

22      for spoliation.

23                       MR. HIGGINS:             Your Honor, the only -- I want to make two

24      points.         One is that this has been exceedingly frustrating and

25      time consuming for a couple of solo practitioners who have been




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 1      trying to get text messages and explanations, basic explanations,

 2      like the ones you are ordering now, about where are the text

 3      messages, where is the information we expected to find that we're

 4      not finding, and to be told at the eleventh hour that Karen

 5      Riapos suddenly remembers that she searched her phone and things

 6      like this.            It's just -- you know, it's incredibly frustrating,

 7      and that's really not a legal argument.

 8              And then, secondly, I would say I don't know how quickly

 9      court reporters can get transcripts turned around, but would you

10      be all right with giving us until the end of the day,

11      November 2nd, to get -- just an extra day might help with getting

12      transcripts from the court reporters.

13                       THE COURT:           Yes, I am comfortable giving you until the

14      end of the day.                Or just file it by November 2nd, which gives

15      you, I think, until 11:59 p.m.

16                       MR. HIGGINS:             Right.

17                       THE COURT:           Okay.       I understand your frustration,

18      Mr. Higgins, and I do believe part of your motion for sanctions

19      was for attorney's fees as well; is that right?

20                       MR. HIGGINS:             Yes.

21                       THE COURT:           Okay.       That's something that the Court will

22      address once I receive the supplemental briefs from both parties.

23              All right.           Is there anything -- so I'm going to defer ruling

24      on Docket No. 30.

25              Is there anything else, Ms. McFarland?




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 1                       MS. MCFARLAND:              No.

 2                       THE COURT:           Anything else, Mr. Higgins?

 3                       MR. HIGGINS:             No.     Thank you, Your Honor.

 4                       THE COURT:           Okay.       We will be in recess.

 5                       MS. MCFARLAND:              Thank you.

 6                       THE CLERK:           Court is in recess.                  Thank you, everyone.

 7                                                      (Adjourned.)

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10                                              C E R T I F I C A T E

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12               I, Nickoline M. Drury, RMR, CRR, Court Reporter for the

13      United States District Court in the Western District of

14      Washington at Seattle, do certify that the foregoing is a correct

15      transcript, to the best of my ability, from the record of

16      proceedings in the above-entitled matter.

17

18

19                                                /s/ Nickoline Drury

20                                                Nickoline Drury

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